 Case 22-10609-amc        Doc 40-1 Filed 04/01/22 Entered 04/01/22 14:47:30                Desc
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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                           :   CHAPTER 11

SCUNGIO BORST & ASSOCIATES, LLC                  :   BANKRUPTCY NO. 22-10609(AMC)

                       Debtor                :


                                CERTIFICATE OF SERVICE

         I, Robert W. Seitzer, Esquire, hereby certify that a true and correct copy of the

Compensation Disclosure Notice of Debtor Pursuant to Local Bankruptcy Rule 4002-1 (b) was

served on April 1,2022 upon the parties on the attached list in the manner indicated thereon.


                                             KARALIS PC


                                             By:     Zs/ Robert W. Seitzer_____________
                                                     ROBERT W. SEITZER

                                                     Proposed Attorneys for the Debtor
Dated: April 1, 2022
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                                               Certificate of Service Page 2 of 3
VIA ECF TRANSMISSION                            George M. Conway, Esquire                    Corinne Samler Brennan, Esquire
                                                Office of the United States Trustee          Klehr Harrison Harvey Branzburg LLP
                                                Custom House                                 1835 Market Street, Suite 1400
                                                200 Chestnut Street, Suite 502               Philadelphia, PA 19103
                                                Philadelphia, PA 19106


Nicole M. Nigrelli, Esquire                     Pamela Elchert Thurmond, Esquire             Gary D. Bressler, Esquire
Ciardi Ciardi & Astin                           City of Philadelphia Law Department          McElroy Deutsch, Mulvaney & Carpenter LLP
1905 Spruce Street                              Municipal Services Building                  1617 JFK Boulevard, Suite 1500
Philadelphia, PA 19103                          1401 JFK Boulevard, 5* Floor                 Philadelphia, PA 19103
                                                Philadelphia, PA 19102-1595


Daniel M. Pereira, Esquire                      Kevin Grem, Esquire                          Travis L. Kreiser, Esquire
Stradley Ronon Stevens & Young LLP              Commonwealth of PA, Dept of Labor and Ind.   Kreiser & Associates PC
2005 Market Street, Suite 2600                  Collections Support Unit                     1300 Lawarence Road
Philadelphia, PA 19103                          P.O. Box 68568                               Havertown, PA 19083
                                                Harrisburg, PA 17121-8568


Clayton W. Davison, Esquire                     Anthony R. Twardowski, Esquire               Ira E. Dorfman, Esquire
McNees Wallace & Nurick LLC                     Zarwin Baum DeVito Kaplan Schaer Toddy       Steven A. Berkowtiz & Associates PC
100 Pine Street, PO Box 1166                    2005 Market Street, 16*** Floor              10000 Lincoln Drive East, Suite 202
Harrisburg, PA 17108-1166                       Philadelphia, PA 19103                       Marlton, NJ 08053



Alexander F. Barth, Esquire                     Ronald M. Tucker, Esquire                    Patrick J. Reilly, Esquire
Cohen Seglias Pallas Greenhall & Furman PC      Simon Property Group, Inc.                   Cole SchotzP.C.
1600 Market Street, 32"'* Floor                 225 West Washington Street                   500 Delaware Avenue, Suite 1410
Philadelphia, PA 19103                          Indianapolis, IN 46204                       Wilmington, DE 19801



Rebecca K. McDowell, Esquire                    Keri P. Ebeck, Esquire
Saldutti Law Group                              Bemstein-Burkley PC
1700 Market Street, Suite 1005                  601 Grant Street, 9"’Floor
Philadelphia, PA 19103                          Pittsburgh, PA 15219



VIA E-MAIL                                      Scungio Borst & Associates, LLC              Barry J. Roy, Esquire
                                                Attn: Scott Scungio                          Rabinowitz Lubetkin & Tully LLC
                                                4 Manchester Road                            293 Eisenhower Parkway, Suite 100
                                                P.O. Box 203                                 Livingston, NJ 07039
                                                Media, PA 19065                              brov@rltlawfirm.com


Daniel F.X. Geoghan, Esquire                    Peter J. Strom, Esquire                      Bret M. Amron, Esquire
                                                                                             Bast Amron
Cole Schotz P.C.                                Cole SchotzP.C.                              SunTrust International Ctr.
1325 Avenue of the Americas, 19’** Floor        1325 Avenue of the Americas, 19“* Floor      One Southeast Third Avenue, Suite 1400
New York, NY 10019                              New York, NY 10019                           Miami, FL 33131
dgeoghan@coleschotz.com                         pstrom@coleschotz.com                        bamron@bastamron.com



Dain A. de Souza, Esquire
BastAmron
SunTrust International Ctr.
One Southeast Third Avenue. Suite 1400
Miami, FL 33131
ddesouza@bastamron.com




VIA U.S. FIRST CLASS MAIL                       Federal Resources Financial Credit Union     Jersey Construction, Inc.
                                                520 Route 22 East                            838 Piney Hollow Road
                                                Bridgewater, NJ 08807                        P.O. Box 557
                                                                                             Hammonton, NJ 08037
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MARX Sheet Metal & Mechanical Inc.      Louis N. Rothberg & Son, Inc.      IT Landes Company
373 High Street                         550 Cedar Avenue                   247 Main Street
Wilkes Barre, PA 18702                  Middlesex, NJ 08846                Harleysville, PA 19438




2M Electric LLC                         Philadelphia Carpentry Systems     William Walter Construction Group LLC
109 Camars Drive                        5 N. Columbus Blvd., Pier 5        1431 N. Tuckahoe Road
Warwick, PA 18974                       Philadelphia, PA 19103             Williamstown, NJ 08094




Reilly Glazing Inc.                     RDL Construction LLC               1st Black Hawk LLC
200 E. Washington Street                1044 Industrial Drive, Unit 1      715 EastNields Street
Norristown, PA 19401                    West Berlin, NJ 08091              West Chester, PA 19382




Fromkin Brothers Inc.                   Cippco Inc.                        Edward B. O’Reilly & Associates, Inc.
4510 Adam Circle, Unit E                9323 Keystone Street               30 West Highland Avenue
Bensalem, PA 19020                      Philadelphia, PA 19114             Philadelphia, PA 19118




Mayfield Site Contractors               Portugese Structural Steel, Inc.   Bristol Millwork Inc.
596 Swedeland Road                      255 South Street                   4560 Tacony Street
King of Prussia, PA 19406               Newark, NJ 07114                   Philadelphia, PA 19124




VIP Construction Services, Inc.         Avon Brothers, Inc.
15 Fresh Ponds Road                     5021 Industrial Road
Monroe Twp., NJ 08831                   Farmingdale, NJ 07727
